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                                         20355
                                               U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
MKM:TH                                            271 Cadman Plaza East
F. #2017R01840                                    Brooklyn, New York 11201



                                                  August 10, 2021

By ECF

The Honorable Nicholas G. Garaufis
United States District Judge
United States District Court
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. Keith Raniere
                       Criminal Docket No. 18-204 (S-2) (NGG)

Dear Judge Garaufis:

                The government respectfully encloses a proposed order of restitution in
accordance with the Court’s supplemental sentencing statement and order of July 20, 2021.
Exhibits A and B to the proposed order, which are submitted under separate cover, contain
victim information, including names, which the government respectfully submits should be
filed under seal. In addition, as Exhibit B contains victim mailing addresses, the government
respectfully requests that it be filed ex parte and under seal, but that that appropriate
personnel of the Clerk’s Office and the United States Attorney’s Office should have access to
it in order to make the required distributions.

                                                  Respectfully submitted,

                                                  JACQUELYN M. KASULIS
                                                  Acting United States Attorney

                                          By:      /s/
                                                  Tanya Hajjar
                                                  Assistant U.S. Attorney
                                                  (718) 254-7000

Enclosures

cc:    Counsel of Record (by ECF and email)
       United States Probation Officer Jennifer G. Fisher (by email)
